            Case 3:22-cr-00405-IM       Document 1-1       Filed 11/03/22      Page 1 of 7


3:22-mj-00198
DISTRICT OF OREGON, ss:                                AFFIDAVIT OF SAMUEL LANDIS

               Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Samuel Landis, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.       I am a Special Agent with the Drug Enforcement Administration (DEA), and have

been since March of 2016. Currently, I work in the Seattle Field Division, Portland District Office.

Prior to my employment with the DEA, I worked as a Border Patrol Agent from November 2009

to March 2016. As a Special Agent of the DEA, my duties and responsibilities have included

conducting criminal investigations for possible violations of federal law, particularly those found

in Title 18 and Title 21 of the United States Code. I received formal training at the DEA Basic

Agent Training Academy in Quantico, Virginia. The 22-week training included comprehensive,

formalized instruction in, among other things: basic narcotic investigations, drug identification and

detection, familiarization with United States narcotics laws, financial investigations and money

laundering, identification and seizure of drug-related assets, organized crime investigations,

physical and electronic surveillance, and undercover operations. In addition to Basic Agent

Training, I have completed Money Laundering Training, Traps and Concealed Compartments

Training, and other various courses that have familiarized me with investigations of drug

trafficking organizations, methods of importation and distribution of controlled substances, and

financial investigations.

       2.       This affidavit is intended to show only that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter. The facts set forth

in this affidavit are based on my own personal knowledge, knowledge obtained from other


 Affidavit of Samuel Landis                                                                  Page 1
            Case 3:22-cr-00405-IM      Document 1-1       Filed 11/03/22     Page 2 of 7




individuals during my participation in this investigation, including other law enforcement officers,

interviews of witnesses, a review of records related to this investigation, communications with

others who have knowledge of the events and circumstances described herein, and information

gained through my training and experience.

       3.       I submit this affidavit in support of a criminal complaint and arrest warrant for

Adolfo MARTINEZ, Jr. and Carlos Alberto MARTINEZ for the crimes of engaging in a

Conspiracy to Distribute five (5) kilograms or more of a mixture and substance containing a

detectable amount of cocaine, a Schedule II controlled substance, and Possession with Intent to

Distribute five (5) kilograms or more of a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance, all in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), and 846. As set forth below, there is probable cause to believe, and I do believe,

that Adolfo MARTINEZ, Jr. and Carlos Alberto MARTINEZ violated 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), and 846.

                                         Applicable Law

       4.       Title 21, United States Code, Section 841(a)(1) prohibits the distribution and

possession with the intent to distribute a controlled substance. Title 21, United States Code,

Section 846 prohibits engaging in a conspiracy to distribute or possess with the intent to distribute

a controlled substance. Cocaine is a Schedule II controlled substance.

                                  Statement of Probable Cause

       5.       On November 3, 2022, at approximately 9:30 a.m., Oregon State Police (OSP)

Officer Travis Peterson contacted DEA Salem K-9 Task Force Officer (TFO) Adam Miller and

advised that he recently performed a traffic stop on a white-colored BMW sedan in Medford,


 Affidavit of Samuel Landis                                                                Page 2
             Case 3:22-cr-00405-IM    Document 1-1      Filed 11/03/22    Page 3 of 7




Oregon. Officer Peterson stated that two individuals, Adolfo MARTINEZ, Jr. and Carlos

Alberto MARTINEZ, occupied the vehicle. Officer Peterson stated that during his interactions

with Adolfo MARTINEZ, Jr., he appeared nervous and was not able to state the name of the

registered owner of the BMW. Officer Peterson released the BMW shortly after completing his

inspection. Officer Peterson is not a drug detection K-9 handler.

        6.       At approximately 1:00 p.m., TFO Miller observed the same white-colored BMW

sedan travelling north on I-5 in the area of milepost 225, which is located within Linn County,

Oregon. TFO Miller subsequently stopped the BMW based on a traffic violation. During the stop,

TFO Miller identified the driver as Adolfo MARTINEZ, Jr. via his Washington Driver’s License.

Adolfo MARTINEZ, Jr. stated that the vehicle belonged to his aunt; however, when TFO Miller

asked for the name of the aunt, Adolfo MARTINEZ, Jr. was only able to state her first name.

Adolfo MARTINEZ, Jr. stated that he and the passenger, Carlos Alberto MARTINEZ, his

brother, recently returned from a week-long trip to Southern California, where they stayed at a

hotel. TFO Miller had received information that the car had in fact only been in Southern

California for a couple of days. TFO Miller noted there was a tan-colored bag in the back seat of

the vehicle, which Adolfo MARTINEZ, Jr. claimed it only contained their clothing. Both Adolfo

MARTINEZ, Jr. and Carlos Alberto MARTINEZ told TFO Miller that everything in the car

was theirs. TFO Miller asked Adolfo MARTINEZ, Jr. for consent to search the BMW. Adolfo

MARTINEZ, Jr. declined. TFO Miller then asked Adolfo MARTINEZ, Jr. if he could use his

K-9 partner to perform a sniff around the exterior of the BMW. Adolfo MARTINEZ, Jr. stated

that there was no reason to use a K-9 on the vehicle. Both the driver and passenger were asked to

step out of the car.


 Affidavit of Samuel Landis                                                             Page 3
               Case 3:22-cr-00405-IM     Document 1-1      Filed 11/03/22    Page 4 of 7




          7.       TFO Miller subsequently deployed his trained narcotics detecting K-9 near/around

the BMW. Shortly thereafter, the K-9 demonstrated a positive alert to the presence of the odor of

narcotics emanating from the rear of the vehicle. Following the positive K-9 alert, TFO Miller

searched the car. TFO Miller first looked inside of the tan-colored bag in the back seat. Inside, the

tan-colored bag in the back seat TFO Miller located a loaded 10mm caliber Glock handgun.

Within the same bag, TFO Miller also located two additional fully loaded 10mm caliber

magazines. Adolfo MARTINEZ, Jr. told TFO Miller that the gun was his and that he had a permit

for it.

          8.       During a search of the trunk, TFO Miller observed various nutrition supplements,

a case of energy drinks, a backpack, an Igloo cooler, and a suitcase. TFO Miller searched the

backpack, Igloo cooler, and the suitcase, and located 38 separate plastic-wrapped and vacuum-

sealed packages containing a white substance. The 38 packages, while having different markings,

all appeared to be approximately the same size. Approximately five of the packages were weighed

individually and each ranged between 1,150 to 1,250 grams each. The packages were all wrapped

in plastic and appeared to be coated in grease, which is commonly used by traffickers to attempt

to hide the odor of the cocaine. The suspected drugs were seized and, in total with DEA packaging,

weighing approximately 44,000 grams. Later, investigators field-tested nine (9) of the 38 packages

each of which provided a presumptive positive result for the presence of cocaine, a Schedule II

controlled substance. Based on the similarities of the packages I believe all of the packages contain

roughly the same amount of cocaine. I also know, from my training and experience, that cocaine

is typically shipped in kilogram quantities. A picture of the seized drugs is below:




 Affidavit of Samuel Landis                                                                Page 4
           Case 3:22-cr-00405-IM      Document 1-1       Filed 11/03/22     Page 5 of 7




      9.       After locating the suspected bulk narcotics, but before they were tested, TFO Miller

read Adolfo MARTINEZ, Jr. his Miranda Warnings and asked him if the packages contained

Affidavit of Samuel Landis                                                                Page 5
          Case 3:22-cr-00405-IM         Document 1-1        Filed 11/03/22      Page 6 of 7




fentanyl. Adolfo MARTINEZ, Jr. replied, “I plead the fifth.” Adolfo MARTINEZ, Jr. and

Carlos Alberto MARTINEZ were subsequently arrested and transported to the Salem Resident

Officer for further processing.

        10.      Based on my training and experience, I know that addicts often snort cocaine and

that it is often used in smaller gram-size quantities or it is converted into “crack,” a highly addictive

version of the drug. A typical user of cocaine will often use less than a gram of cocaine at a time.

Based upon my training and experience, I know that approximately 38 kilograms of cocaine is not

a user quantity but rather indicates it is possessed for purposes of further distribution. Furthermore,

the way the cocaine was packaged in kilogram bags is also indicative of possession with the intent

to distribute. I know that, between larger dealers, a kilogram of cocaine can sell for between

$30,000 to $40,000 a kilogram and given its valuable nature, drugs in large quantities such as this

are not given or entrusted to unwitting individuals. While this price is subject to fluctuation,

approximately 38 kilograms of cocaine has a rough value of more than $1,000,000.

                                                  Conclusion

        11.     Based on the foregoing, I have probable cause to believe, and I do believe, that on

or about November 3, 2022, within the District of Oregon, Adolfo MARTINEZ, Jr. and Carlos

Alberto MARTINEZ knowingly and intentionally Conspire to Distribute five (5) kilograms or

more of a mixture and substance containing a detectable amount of cocaine, a Schedule II

controlled substance, and did knowingly and intentionally possess with the intent to distribute five

(5) kilograms or more of a mixture and substance containing a detectable amount of cocaine, a

Schedule II controlled substance, all in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846.




 Affidavit of Samuel Landis                                                                    Page 6
         Case 3:22-cr-00405-IM        Document 1-1        Filed 11/03/22   Page 7 of 7




I therefore request that the Court issue a criminal complaint and arrest warrant for Adolfo

MARTINEZ, Jr. and Carlos Alberto MARTINEZ.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Scott Kerin

and AUSA Kerin advised me that in his opinion the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.



                                                    /S/   By Phone
                                                    SAMUEL LANDIS
                                                    Special Agent
                                                    Drug Enforcement Administration

       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

  9:48 xxx
________ a.m./p.m. on November 3, 2022.
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                                                    ________________________________
                                                    HON. YOULEE YIM YOU
                                                    United States Magistrate Judge




 Affidavit of Samuel Landis                                                              Page 7
